      Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 1 of 76 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 FIFTH THIRD BANK, NATIONAL                        )
 ASSOCIATION,                                      )
                                                   )
                Plaintiff,                         )
                                                   )           Case No.
           v.                                      )
                                                   )
 EDWARD H. RUFF, CARYN RUFF                        )
 PIERRE, BARRY HAUSAUER and                        )
 NASSAU LIFE AND ANNUITY                           )
 COMPANY,

                Defendants,


                                          COMPLAINT

       Plaintiff Fifth Third Bank, National Association (“Fifth Third”), by its counsel, Fox

Rothschild LLP, and for its Complaint against Defendants Edward H. Ruff, Caryn Ruff Pierre,

Barry Hausauer and Nassau Life and Annuity Company (collectively, the “Defendants”), states as

follows:

                                        INTRODUCTION

1.     Fifth Third, as successor in interest to MB Financial Bank, N.A. (“MB Bank”), seeks to

recover (a) fraudulent transfers made to or for the benefit of the insiders of a failed borrower based

on actual and constructive fraud; and (b) additional damages caused by the failed borrower’s

insider’s financial misrepresentations made to MB Bank.

2.     As the borrower was insolvent and otherwise failing, its insiders fraudulently helped

themselves to millions of dollars from a certain line of credit loan (the “Line of Credit Loan”),

which was provided to the borrower by MB Bank. The insiders then “tossed the keys” of the failed
        Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 2 of 76 PageID #:2




borrower to Fifth Third on their way out the door , as they attempted to abscond with millions in

wrongfully transferred or otherwise obtained funds.

3.       Fifth Third also seeks to recover damages as a result of the Defendants presenting false

financial statements and other financial information to MB Bank. The Defendants’ financial

misrepresentations enabled them to hide multiple events of default under their loan agreement with

MB Bank and fraudulently withdraw millions of dollars from the Line of Credit Loan.

4.       Following a demand by Fifth Third, the Defendants refused to return the fraudulent

transfers, contending, in part, that such amounts were the repayment of loans made by the insider

Defendants to the borrower. However, such loans were not properly disclosed on the borrower’s

financial statements, in order to hide multiple events of default, which would have given MB Bank

the right to limit the borrower’s ability to withdraw or borrow amounts from the Line of Credit

Loan, or even to outright terminate it. Moreover, these alleged loans were neither documented nor

properly registered on the books and records of the borrower.

5.       To the extent the proceeds of such alleged insider loans were contributed to the borrower,

they lack the typical characteristics of a loan, and should be more properly recharacterized as

equity contributions to an inadequately capitalized borrower.

                                            THE PARTIES

6.       Fifth Third is a national banking association with its principal place of business located in

Ohio.

7.       Edward H. Ruff, an individual, is a citizen of the State of Florida.

8.       Caryn Ruff Pierre, an individual, is a citizen of the State of Illinois.

9.       Barry Hausauer, an individual, is a citizen of the State of Florida.

10.      Nassau Life and Annuity Company (“Nassau”) is a Connecticut corporation with its

principal place of business located in the State of Connecticut.
                                                    2
      Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 3 of 76 PageID #:3




                                  JURISDICTION AND VENUE

11.    This Court has personal jurisdiction over the parties to this dispute.

12.    This Court has subject matter jurisdiction over this dispute pursuant to 28 U.S.C.

§1332(a)(1) because there is diversity between the citizenship of the Plaintiff and the citizenships

of the Defendants and because the amount in controversy is greater than $75,000.

13.    This Court is an appropriate venue within which to adjudicate this dispute pursuant to 28

U.S.C. §1391(b)(2) because the events giving rise to the claims occurred in this District.

                                  THE LOAN TO SANTA’S BEST

14.    On May 29, 2015, MB Bank, the lender, and Santa’s Best, the borrower, entered into the

Amended and Restated Loan and Security Agreement (as amended from time to time, the “Loan

Agreement”). Pursuant to the Loan Agreement, MB Bank agreed to provide the Line of Credit

Loan to Santa’s Best, which was secured by substantially all of Santa’s Best’s assets. A true and

correct copy of the Loan Agreement is attached to this Complaint as Exhibit A.

15.    MB Bank was a national banking association that was acquired by Fifth Third via merger

in May of 2019.

16.    Prior to its insolvency, Santa’s Best was an Illinois general partnership. At all relevant

times, the general partners of Santa’s Best were Tinsel/Ruff Group Limited Partnership, an Illinois

limited liability company (“Tinsel/Ruff”), and A-Chicago Tech, L.L.C., a Delaware limited

liability company (“A-Chicago”).

17.    At all relevant times, Edward H. Ruff and Associates, Inc., an Illinois corporation, was the

general partner of Tinsel/Ruff.

18.    At all relevant times, Edward H. Ruff was the President of Edward H. Ruff and Associates.

19.    At all relevant times, Edward H. Ruff was the Manager of A-Chicago.



                                                 3
      Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 4 of 76 PageID #:4




20.    At all relevant times, substantially all of Santa’s Best’s equity was owned (both directly

and indirectly) and controlled by Edward H. Ruff and his immediate family.

21.    At all relevant times, Edward H. Ruff was the Chief Executive Officer of Santa’s Best.

22.    At all relevant times, Barry Hausauer was the Chief Operating Officer and Chief Financial

Officer of Santa’s Best.

23.    Caryn Ruff Pierre is the daughter of Santa’s Best CEO, Edward H. Ruff.

24.    In May of 2019, Santa’s Best went out of business and its assets liquidated. Currently, the

balance owed by Santa’s Best to Fifth Third pursuant to the Line of Credit Loan is in excess of

$15,500.000.00.

                              THE FRAUDULENT TRANSFERS

25.    Shortly before going out of business, Santa’s Best fraudulently transferred money to or for

the benefit of its CEO, Edward H. Ruff, in the total amount of $4,309,504.21. Such transfers are

more particularly described in Exhibit B (collectively, the “Edward Fraudulent Transfers”)

attached to this Complaint.

26.    Shortly before going out of business, Santa’s Best fraudulently transferred money to or for

the benefit of its CEO Edward H. Ruff’s daughter, Caryn Ruff Pierre, in the total amount of

$725,757.00. Such transfers are more particularly described in Exhibit C (collectively, the “Caryn

Fraudulent Transfers”) attached to this Complaint.

27.    Shortly before going out of business, Santa’s Best fraudulently transferred money

(collectively, the “Nassau Fraudulent Transfers”) to Nassau for the benefit of Edward H. Ruff

and/or his immediate family members who hold an insurance policy or investment vehicle with

Nassau, in (a) the amount of $603,866.66 on December 18, 2018; and (b) the amount of

$2,937,313.41 on March 12, 2019.



                                                4
      Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 5 of 76 PageID #:5




                             THE FALSE REPRESENTATIONS

28.    Under the terms of the Loan Agreement, Santa’s Best was required to comply with certain

financial and other covenants. If Santa’s Best failed to satisfy a covenant, it would constitute an

“Event of Default,” as defined under the Loan Agreement. The covenants included, among other

obligations, that Santa’s Best would: (a) pursuant to Section 10.1 of the Loan Agreement, maintain

a Tangible Net Worth (as defined in the Loan Agreement) in excess of $4,000,000 (the “Tangible

Net Worth Covenant”) as of the end of each fiscal year; (b) pursuant to Section 10.2 of the Loan

Agreement, maintain a certain ratio of outstanding amounts due under the Revolving Line Loan to

a measure of earnings (the “Senior Debt to EBITDA Covenant”) as of the end of each fiscal

quarter; and (c) pursuant to Section 8.8 of the Loan Agreement, periodically provide certain

financial statements and other financial information to MB Bank.

29.    The Loan Agreement provided that, if Santa’s Best failed to satisfy either the Tangible Net

Worth Covenant or the Senior Debt to EBITDA Covenant, it would be considered an Event of

Default. The Loan Agreement also provided that, if Santa’s Best otherwise made any material

misrepresentation to MB Bank, it would also be considered an Event of Default.

30.    The Loan Agreement further stipulated that, as a condition to Santa’s Best borrowing or

drawing any amounts under the Line of Credit Loan, there could be no Event of Default. Moreover,

MB Bank was entitled to terminate the Line of Credit Loan upon any Event of Default.

                                The Undisclosed Insider Loans

31.    In response to a demand for the repayment of a portion of the Edward Fraudulent Transfers

and the Nassau Fraudulent Transfers, Edward H. Ruff alleged that approximately $4,300,000 of

such transfers were loan (the “Insider Loans”) repayments made to Santa’s Best.




                                                5
      Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 6 of 76 PageID #:6




32.    However, the financial statements and other information provided to MB Bank by Edward

H. Ruff and Barry Hausauer materially understated the amounts owed as Insider Loans. These

misrepresentations also materially understated the total debt owed by Santa’s Best on its financial

statements and other information provided to MB Bank.

                                 The Undisclosed LedUp Claims

33.    Prior to its insolvency, Santa’s Best was in the business of selling Christmas lights and

other holiday decorations (collectively, the “Products”) to large retailers.

34.    Beginning in 2012, Santa’s Best purchased a significant majority of its Products from a

manufacturer in China, Guangde LedUp Enterprises Inc. (“LedUp”), through an affiliate of

LedUP, 1 Energy Solutions, Inc. (“1 Energy”).

35.    Throughout its business dealings with LedUp and 1 Energy, Santa’s Best would draw from

the Line of Credit Loan in order to make large prepayments to (or deposits with) 1 Energy for the

production of its Products. The parties would then document the advances with promissory notes

(the “1 Energy Notes”) from 1 Energy to Santa’s Best.

36.    The 1 Energy Notes would be offset against the purchase price of the Products bought by

Santa’s Best.

37.    The principal balance of the 1 Energy Notes was shown as an asset of Santa’s Best on its

periodic financial statements, as provided to MB Bank.

38.    However, early in the business relationship between Santa’s Best and LedUp and 1 Energy,

disputes arose as to the amounts due from Santa’s Best to LedUp and 1 Energy (collectively, the

“LedUp Claims”). The LedUp Claims arose largely from Santa’s Best charging LedUp for various

disputed claims and unilaterally taking an offset from amounts due from Santa’s Best for Products

it had purchased. These disputes dated as far back as at least 2014.



                                                  6
      Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 7 of 76 PageID #:7




39.       The amounts claimed by LedUp were addressed by LedUp and 1 Energy multiple times

with Santa’s Best, largely via meetings and communications with Defendants Edward H. Ruff and

Barry Hausauer.

40.       As of the beginning of 2018, the total amount of the LedUp Claims against Santa’s Best

had grown in excess of $5,000,000.

41.       Santa’s Best failed to account for the LedUp Claims on its financial statements that it

provided to MB Bank, either as an offset to the 1 Energy Notes, as a payable to LedUp, or

otherwise. Such misrepresentations made the financial statements presented to MB Bank

materially misleading.

42.       The failure to fully disclose the Insider Loans and the LedUp Claims resulted in Santa’s

Best (a) materially overstating its earnings to MB Bank; (b) materially overstating its assets to MB

Bank; (c) materially understating its liabilities to MB Bank; and (d) hiding breaches of the Tangible

Net Worth Covenant and Senior Debt to EBITDA Covenant from MB Bank.

43.       These material misrepresentations helped Santa’s Best hide multiple Events of Default

under the Loan Agreement, enabling it to wrongfully draw and use millions of dollars from the

Line of Credit Loan, including by making the Edward Fraudulent Transfers, the Caryn Fraudulent

Transfers, and the Nassau Fraudulent Transfers.

                                      COUNT I
      Fraudulent Transfer Claim Under 740 Ill. Comp. Stat. 160/5(a)(1): Actual Fraud

44.       Fifth Third incorporates the allegations of paragraphs 1 - 43 above as if fully set forth

herein.

45.       This is a claim based on a fraudulent transfer under 740 Ill. Comp Stat. 160/5(a)(1).




                                                   7
      Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 8 of 76 PageID #:8




46.    Fifth Third is entitled to relief, including but not limited to avoidance of the Edward

Fraudulent Transfers, the Caryn Fraudulent Transfers, and the Nassau Fraudulent Transfers, under

740 Ill. Comp. Stat. 160/8(a).

47.    Section 5(a)(1) provides that:

       A transfer made or obligation incurred by a debtor is fraudulent as to a creditor,
       whether the creditor’s claim arose before or after the transfer was made or the
       obligation was incurred, if the debtor made the transfer or incurred the obligation:
       (1) with actual intent to hinder, delay, or defraud any creditor of the debtor[.]

48.    The Illinois Fraudulent Transfer Act (“UFTA”) defines a claim to include “a right to

payment, whether or not the right is reduced to judgment, liquidated, unliquidated, fixed,

contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured, or unsecured.”

740 ILCS 160/2(c).

49.    MB Bank had a claim against Santa’s Best, and was therefore a creditor as defined under

the UFTA, during all relevant times.

50.    In determining whether a debtor made a transfer or incurred an obligation with actual intent

to defraud under section 5(a)(1), Illinois law provides that consideration may be given to outside

factors, including but not limited to the following presented in this case:

                    i. The transfers were to or for the benefit of insiders;

                   ii. Santa’s Best used the proceeds of the Line of Credit Loan from MB Bank

                       to make the fraudulent transfers while Santa’s Best was in default under the

                       Loan Agreement and thus not entitled to use the Line of Credit Loan;

                  iii. Santa’s Best fraudulently induced MB Bank to keep the Line of Credit Loan

                       open in order to make the fraudulent transfers;

                  iv. Santa’s Best was uncertain about its financial future at the time it made the

                       fraudulent transfers;

                                                  8
      Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 9 of 76 PageID #:9




                     v. Santa’s Best was undercapitalized at the time of the fraudulent transfers;

                    vi. Santa’s Best had a material dispute with its major supplier at the time of the

                         fraudulent transfers;

                   vii. Santa’s Best provided materially false financial information to MB Bank in

                         order to continue to use the Line of Credit Loan to make the fraudulent

                         transfers;

                   viii. Santa’s Best concealed its precarious financial situation in order to make

                         the fraudulent transfers;

                    ix. The value of the consideration received by the debtor was not reasonably

                         equivalent to the value of the asset transferred;

                     x. Santa’s Best was insolvent or became insolvent shortly after the transfer

                         was made or the obligation was incurred;

                    xi. Santa’s Best shut down its operations shortly after it made the fraudulent

                         transfers; and

                   xii. The fraudulent transfers created a substantial debt under the Line of Credit

                         Loan.

51.       The fraudulent transfers were made from loan proceeds that Santa’s Best was not entitled

to use.

52.       Santa’s Best acted with fraudulent intent to transfer proceeds from the Line of Credit Loan

to the Defendants.

53.       The transfers were made with actual intent to hinder, delay, or defraud MB Bank, as

evidenced by the facts set forth above.




                                                     9
      Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 10 of 76 PageID #:10




          WHEREFORE, Fifth Third respectfully requests that the Court enter an Order in favor of

Fifth Third:

          a)     avoiding the Edward Fraudulent Transfers;

          b)     avoiding the Caryn Fraudulent Transfers;

          c)     avoiding the Nassau Fraudulent Transfers;

          d)     entering judgment in favor of Fifth Third and against Edward H. Ruff in the amount

                 of the Edward Fraudulent Transfers;

          e)     entering judgment in favor of Fifth Third and against Caryn Pierre Ruff in the

                 amount of the Caryn Fraudulent Transfers;

          f)     entering judgment in favor of Fifth Third and against Edward H. Ruff in the amount

                 of the Nassau Fraudulent Transfers; and

          g)     awarding Fifth Third such other and further relief as this Court deems just and

                 proper.

                                     COUNT II
  Fraudulent Transfer Claim Under 740 Ill. Comp. Stat. 160/5(a)(2): Constructive Fraud

54.       Fifth Third incorporates the allegations of paragraphs 1 - 53 above as if fully set forth

herein.

55.       This is a claim based on a fraudulent transfer under 740 Ill. Comp. Stat. 160/5(a)(2).

56.       Fifth Third is entitled to relief, including but not limited to avoidance of the Edward

Fraudulent Transfers, the Caryn Fraudulent Transfers, and the Nassau Fraudulent Transfers, under

740 Ill. Comp. Stat. 160/8(a).

57.       Section 5(a)(2) provides that:

          A transfer made or obligation incurred by a debtor is fraudulent as to a creditor,
          whether the creditor’s claim arose before or after the transfer was made or the
          obligation was incurred, if the debtor made the transfer or incurred the obligation:

                                                  10
      Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 11 of 76 PageID #:11




        … (2) without receiving a reasonably equivalent value in exchange for the transfer
        or obligation, and the debtor: (A) was engaged or was about to engage in a business
        or a transaction for which the remaining assets of the debtor were unreasonably
        small in relation to the business or transaction; or (B) intended to incur, or believed
        or reasonably should have believed that he would incur, debts beyond his ability to
        pay as they became due.

58.     Each of the fraudulent transfers complained of herein impaired the rights of Santa’s Best’s

creditors.

59.     The Edward Fraudulent Transfers, the Caryn Fraudulent Transfers, and the Nassau

Fraudulent Transfers were each made after Santa’s Best was insolvent.

60.     Santa’s Best did not receive reasonably equivalent value in exchange for the Edward

Fraudulent Transfers, the Caryn Fraudulent Transfers, and the Nassau Fraudulent Transfers.

61.     At the time of each of the Edward Fraudulent Transfers, the Caryn Fraudulent Transfers,

and the Nassau Fraudulent Transfers, Santa’s Best was engaging in business for which its

remaining assets were unreasonably small in relation to the business.

62.     The Edward Fraudulent Transfers, the Caryn Fraudulent Transfers, and the Nassau

Fraudulent Transfers were each made at a time when Santa’s Best had significant indebtedness to

MB Bank and other creditors.

63.     At the time of the Edward Fraudulent Transfers, the Caryn Fraudulent Transfers, and the

Nassau Fraudulent Transfers, Santa’s Best had incurred, and was continuing to incur, debts beyond

its ability to pay as they became due.

        WHEREFORE, Fifth Third respectfully requests that the Court enter an Order in favor of

Fifth Third:

        a)     avoiding the Edward Fraudulent Transfers;

        b)     avoiding the Caryn Fraudulent Transfers;

        c)     avoiding the Nassau Fraudulent Transfers;

                                                  11
      Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 12 of 76 PageID #:12




          d)     entering judgment in favor of Fifth Third and against Edward H. Ruff in the amount

                 of the Edward Fraudulent Transfers;

          e)     entering judgment in favor of Fifth Third and against Caryn Pierre Ruff in the

                 amount of the Caryn Fraudulent Transfers;

          f)     entering judgment in favor of Fifth Third and against Edward H. Ruff in the amount

                 of the Nassau Fraudulent Transfers; and

          g)     awarding Fifth Third such other and further relief as this Court deems just and

                 proper.

                                       COUNT III
      Fraudulent Transfer Claim Under 740 Ill. Comp. Stat. 160/6(a): Constructive Fraud

64.       Fifth Third incorporates the allegations of paragraphs 1 - 63 above as if fully set forth

herein.

65.       This is a claim based on a fraudulent transfer under 740 Ill. Comp. Stat. 160/6(a).

66.       Fifth Third is entitled to relief, including but not limited to, avoidance of the Edward

Fraudulent Transfers, the Caryn Fraudulent Transfers, and the Nassau Fraudulent Transfers, under

740 Ill. Comp. Stat. 160/8(a).

67.       Section 6(a) provides that:

          A transfer made or obligation incurred by a debtor is fraudulent as to a creditor
          whose claim arose before the transfer was made or the obligation was incurred if
          the debtor made the transfer or incurred the obligation without receiving a
          reasonably equivalent value in exchange for the transfer or obligation and the
          debtor was insolvent at that time or the debtor became insolvent as a result of the
          transfer or obligation.

68.       MB Bank’s claim against Santa’s Best arose prior to the time Santa’s Best made each of

the Edward Fraudulent Transfers, the Caryn Fraudulent Transfers, and the Nassau Fraudulent

Transfers.



                                                  12
      Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 13 of 76 PageID #:13




69.       Santa’s Best did not receive reasonably equivalent value in exchange for any of the Edward

Fraudulent Transfers, the Caryn Fraudulent Transfers, or the Nassau Fraudulent Transfers.

70.       At the time of each of the Edward Fraudulent Transfers, the Caryn Fraudulent Transfers,

and the Nassau Fraudulent Transfers, Santa’s Best was insolvent or became insolvent as a result

of such transfer.

          WHEREFORE, Fifth Third respectfully requests that the Court enter an Order in favor of

Fifth Third:

          a)     avoiding the Edward Fraudulent Transfers;

          b)     avoiding the Caryn Fraudulent Transfers;

          c)     avoiding the Nassau Fraudulent Transfers;

          d)     entering judgment in favor of Fifth Third and against Edward H. Ruff in the amount

                 of the Edward Fraudulent Transfers;

          e)     entering judgment in favor of Fifth Third and against Caryn Pierre Ruff in the

                 amount of the Caryn Fraudulent Transfers;

          f)     entering judgment in favor of Fifth Third and against Edward H. Ruff in the amount

                 of the Nassau Fraudulent Transfers; and

          g)     awarding Fifth Third such other and further relief as this Court deems just and

                 proper.

                                            COUNT IV
                                       False Representations
                                       (Ruff and Hausauer)

71.       Fifth Third incorporates the allegations of paragraphs 1 - 70 above as if fully set forth

herein.




                                                  13
      Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 14 of 76 PageID #:14




72.     The false representations set forth above (the “False Representations”) were made by

Edward H. Ruff and Barry Hausauer either fraudulently or negligently.

73.     The False Representations were false statements of material fact.

74.     Edward H. Ruff and Barry Hausauer made these False Representations (a) knowing they

were false, or (b) recklessly or (c) negligently by failing to ascertain the truth of such

representations.

75.     Edward H. Ruff and Barry Hausauer made the False Representations with the intention of

misleading MB Bank, so that MB Bank would not limit their ability to draw or borrow from the

Line of Credit Loan, or even terminate it.

76.     MB Bank justifiably relied on the purported truth of the financial statements and other

information provided to it by Defendants

77.     MB Bank was damaged as a result of such reliance.

78.     Edward H. Ruff and Barry Hausauer owed MB Bank a duty to communicate accurate

information to MB Bank regarding Santa’s Best’s financial statements and other financial

information.

        WHEREFORE, Fifth Third respectfully requests that the Court enter an Order in favor of

Fifth Third:

        a)     entering judgment in favor of Fifth Third and against Edward H. Ruff in the amount

               not less than $15,500,000;

        b)     entering judgment in favor of Fifth Third and against Barry Hausauer in the amount

               not less than $15,500,000; and

        c)     awarding Fifth Third such other and further relief as this Court deems just and

               proper.



                                                14
      Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 15 of 76 PageID #:15




                                           COUNT V
                               Recharacterization of Insider Loans

79.       Fifth Third incorporates the allegations of paragraphs 1 - 78 above as if fully set forth

herein.

80.       The Insider Loans must be recharacterized as equity contributions.

81.       The Insider Loans were never evidenced by any promissory notes or other formal loan

documentation whatsoever.

82.       The Insider Loans lacked formal loan terms, including any maturity dates.

83.       The Insider Loans were made to Sana’s Best at a time when Santa’s Best was inadequately

capitalized.

84.       The Insider Loans were not properly accounted for as loans or debt on the books and

records of Santa’s Best.

85.       The Insider Loans were not properly accounted for on the financial statements and other

information provided to MB Bank.

          WHEREFORE, Fifth Third respectfully requests that the Court enter an Order in favor of

Fifth Third:

             a) Declaring that the Insiders Loan were in fact equity contributions and not debt; and

             b) awarding Fifth Third such other and further relief as this Court deems just and

                 proper.




                                                 15
   Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 16 of 76 PageID #:16




Dated: April 14, 2022                    Respectfully submitted,

                                         FIFTH  THIRD         BANK,     NATIONAL
                                         ASSOCIATION,


                                         By: /s/ Robert W. Glantz
                                                       One of Its Attorneys
Robert W. Glantz (#6201207)
Laura Caplin (#6297784)
Gabrielle Winslow (#6330644)
FOX ROTHSCHILD LLP
321 North Clark Street, Suite 1600
Chicago, Illinois 60654
(312) 517-9200




                                       16
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 17 of 76 PageID #:17




                                 Exhibit A
                            The Loan Agreement
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 18 of 76 PageID #:18
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 19 of 76 PageID #:19
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 20 of 76 PageID #:20
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 21 of 76 PageID #:21
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 22 of 76 PageID #:22
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 23 of 76 PageID #:23
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 24 of 76 PageID #:24
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 25 of 76 PageID #:25
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 26 of 76 PageID #:26
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 27 of 76 PageID #:27
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 28 of 76 PageID #:28
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 29 of 76 PageID #:29
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 30 of 76 PageID #:30
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 31 of 76 PageID #:31
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 32 of 76 PageID #:32
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 33 of 76 PageID #:33
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 34 of 76 PageID #:34
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 35 of 76 PageID #:35
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 36 of 76 PageID #:36
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 37 of 76 PageID #:37
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 38 of 76 PageID #:38
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 39 of 76 PageID #:39
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 40 of 76 PageID #:40
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 41 of 76 PageID #:41
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 42 of 76 PageID #:42
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 43 of 76 PageID #:43
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 44 of 76 PageID #:44
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 45 of 76 PageID #:45
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 46 of 76 PageID #:46
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 47 of 76 PageID #:47
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 48 of 76 PageID #:48
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 49 of 76 PageID #:49
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 50 of 76 PageID #:50
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 51 of 76 PageID #:51
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 52 of 76 PageID #:52
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 53 of 76 PageID #:53
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 54 of 76 PageID #:54
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 55 of 76 PageID #:55
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 56 of 76 PageID #:56
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 57 of 76 PageID #:57
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 58 of 76 PageID #:58
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 59 of 76 PageID #:59
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 60 of 76 PageID #:60
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 61 of 76 PageID #:61
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 62 of 76 PageID #:62
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 63 of 76 PageID #:63
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 64 of 76 PageID #:64
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 65 of 76 PageID #:65
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 66 of 76 PageID #:66
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 67 of 76 PageID #:67
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 68 of 76 PageID #:68
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 69 of 76 PageID #:69
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 70 of 76 PageID #:70
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 71 of 76 PageID #:71
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 72 of 76 PageID #:72
Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 73 of 76 PageID #:73
    Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 74 of 76 PageID #:74




                                     Exhibit B
                           The Edward Fraudulent Transfers

Date of Transfer         Amount

 4/16/2018              $ 750,000.00
 4/20/2018              $ 17,000.00
 5/1/2018               $ 1,666.67
 5/1/2018               $ 6,375.00
 5/7/2018               $ 50,000.00
 5/8/2018               $ 45,000.00
 5/30/2018              $ 15,000.00
 6/1/2018               $ 6,587.50
 6/1/2018               $ 1,666.67
 6/13/2018              $ 25,000.00
 6/18/2018              $ 150,000.00
 6/27/2018              $ 10,000.00
 7/2/2018               $ 1,666.67
 7/5/2018               $ 6,375.00
 7/13/2018              $ 15,000.00
 7/30/2018              $ 25,000.00
 8/1/2018               $ 1,666.67
 9/4/2018               $ 1,666.67
 9/13/2018              $ 18,000.00
 9/17/2018              $150,000.00
 9/28/2018              $ 7,500.00
 10/1/2018              $ 1,666.67
 10/12/2018             $ 17,000.00
 10/24/2018             $ 15,000.00
 10/29/2018             $ 6,000.00
 11/1/2018              $ 1,666.67
 11/5/2018              $ 10,000.00
 11/19/2018             $ 5,000.00
 11/23/2018              $ 48,000.00
 11/28/2018              $ 13,000.00
 11/30/2018              $ 10,000.00
 12/3/2018               $ 1,666.67
 12/11/2018             $ 20,000.00
 12/28/2018             $ 12,000.00
 1/2/2019                $ 1,666.67
 1/3/2019                $ 2,000.00
 1/15/2019               $ 170,000.00
 1/29/2019               $ 15,000.00
   Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 75 of 76 PageID #:75




2/1/2019                 $ 3,666.67
2/6/2019                $ 15,000.00
2/13/2019               $ 25,000.00
2/25/2019               $ 30,000.00
3/1/2019                $ 3,666.67
3/8/2019                $ 10,000.00
3/13/2019               $ 10,000.00
3/26/2019               $ 15,000.00
4/1/2019                $ 3,666.67
4/3/2019                $ 35,000.00
4/11/2019               $ 45,000.00
4/16/2019               $ 150,000.00
4/19/2019               $ 15,000.00
4/19/2019              $2,040,000.00
4/22/2019              $ 250,000.00
5/1/2019               $    3,666.67
    Case: 1:22-cv-01936 Document #: 1 Filed: 04/14/22 Page 76 of 76 PageID #:76




                                       Exhibit C
                             The Caryn Fraudulent Transfers

Date of Transfer          Amount

 5/1/2018             $   3,060.36
 5/2/2018             $   30,000.00
 5/2/2018             $   12,497.52
 5/30/2018            $   10,203.06
 6/1/2018             $   33,020.54
 7/2/2018             $   2,842.87
 7/6/2018             $   21,920.32
 8/6/2018             $   27,904.29
 8/6/2018             $   75,000.00
 8/27/2018            $   40,000.00
 8/28/2018            $   23,498.80
 9/4/2018             $    2,879.29
 10/1/2018            $    2,692.86
 10/5/2018            $   10,000.00
 10/9/2018            $    3,091.39
 10/29/2018           $    3,242.96
 11/1/2018            $    2,810.84
 11/6/2018            $      370.07
 11/7/2018            $   10,000.00
 11/30/2018           $   17,327.27
 12/3/2018            $    2,715.66
 12/6/2018            $   20,000.00
 12/26/2018           $    8,509.17
 1/2/2019             $    2,696.06
 1/3/2019             $   15,000.00
 1/11/2019            $   35,000.00
 1/25/2019            $   14,967.18
 2/1/2019             $    6,701.59
 2/28/2019            $   45,000.00
 3/1/2019             $   11,460.66
 3/19/2019            $    10,000.00
 3/21/2019            $    20,000.00
 4/1/2019             $     2,908.00
 4/4/2019             $    10,000.00
 4/19/2019            $   178,630.12
 5/1/2019             $     1,000.00
 5/3/2019             $   13,824.12
